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 Charles M. Lizza                                 Of Counsel:
 William C. Baton
 SAUL EWING LLP                                   Joseph M. O’Malley, Jr.
 One Riverfront Plaza, Suite 1520                 Eric W. Dittmann
 Newark, NJ 07102-5426                            Young J. Park
 (973) 286-6700                                   Isaac S. Ashkenazi
                                                  Gary Ji
 Attorneys for Plaintiffs                         Angela C. Ni
 Helsinn Healthcare S.A. and                      Dana Weir
 Roche Palo Alto LLC                              PAUL HASTINGS LLP
                                                  75 East 55th Street
                                                  New York, NY 10022
                                                  (212) 318-6000

                                                  Attorneys for Plaintiff
                                                  Helsinn Healthcare S.A.

                                                  Mark E. Waddell
                                                  LOEB & LOEB LLP
                                                  345 Park Avenue
                                                  New York, NY 10154
                                                  (212) 407-4127

                                                  Attorneys for Plaintiff
                                                  Roche Palo Alto LLC

                            UNITED STATES DISTRICT COURT
                               DISTRICT OF NEW JERSEY


HELSINN HEALTHCARE S.A. and
ROCHE PALO ALTO LLC,                                  Civil Action No.__________________

                            Plaintiffs,               COMPLAINT FOR
                                                      PATENT INFRINGEMENT
                       v.
                                                      (Filed Electronically)
ACTAVIS LLC,

                            Defendant.


               Plaintiffs Helsinn Healthcare S.A. (“Helsinn”) and Roche Palo Alto LLC

(“Roche”) (collectively, “Plaintiffs”), for their Complaint against Actavis LLC (“Actavis”)

hereby allege as follows:
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                                         THE PARTIES

                1.     Helsinn is a Swiss corporation having its principal place of business at Via

Pian Scairolo, 9, CH-6912 Lugano-Pazzallo, Switzerland.

                2.     Roche is a company, organized and existing under the laws of the State of

Delaware, having a principal place of business at One DNA Way, South San Francisco,

California 94080-4990.

                3.     Upon information and belief, Defendant Actavis is an entity organized and

existing under the laws of the State of Delaware, having a principal place of business at Morris

Corporate Center III, 400 Interpace Parkway, Parsippany, New Jersey 07054. Upon information

and belief, Defendant Actavis manufactures, markets, and/or sells various generic drug products

for sale and use in the State of New Jersey and throughout the United States.

                                  NATURE OF THE ACTION

                4.     This is a civil action concerning the infringement of United States Patent

No. 7,947,724 (“the ’724 patent”) and United States Patent No. 9,066,980 (“the ’980 patent”).

This action arises under the patent laws of the United States, 35 U.S.C. §§ 100 et seq., as well as

the Declaratory Judgment Act, 28 U.S.C. §§ 2201-02.

                                JURISDICTION AND VENUE

                5.     This Court has jurisdiction over the subject matter of this action pursuant

to 28 U.S.C. §§ 1331 and 1338(a) and the Declaratory Judgment Act, 28 U.S.C. §§ 2201-02.

                6.     This Court may declare the rights and other legal relations of the parties

pursuant to 28 U.S.C. §§ 2201-02 because this case is an actual controversy within the Court’s

jurisdiction.

                7.     Venue is proper in this Court as to Defendant Actavis pursuant to 28

U.S.C. §§ 1391(b), (c), and/or (d), and 1400(b).

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               8.      This Court has personal jurisdiction over Defendant Actavis because, inter

alia, Defendant Actavis has committed, aided, abetted, contributed to, and/or participated in an

act of patent infringement that has led to foreseeable harm and injury to Plaintiffs. This Court

has personal jurisdiction over Defendant Actavis for the additional reasons set forth below, and

for other reasons that will be presented to the Court if such jurisdiction is challenged.

               9.      This Court has personal jurisdiction over Defendant Actavis because, inter

alia, it: (1) has its principal place of business in New Jersey; (2) engages in persistent conduct

within New Jersey, including, upon information and belief, the preparation and submission of

NDA No. 208522; (3) has purposely availed itself of the privilege of doing business in this

Judicial District; (4) maintains extensive systematic contacts with the State of New Jersey,

including the marketing, distribution, and/or sale of generic pharmaceutical drugs to New Jersey

residents; (5) has registered with the New Jersey Department of Health as a wholesale drug

manufacturer; and (6) has sent the Paragraph IV Notice, including a detailed statement of the

factual and legal bases for its belief that the challenged patents are invalid or not infringed by

Actavis’s proposed generic product, into New Jersey.

                                   THE PATENTS-IN-SUIT

               10.     On May 24, 2011, the ’724 patent, titled “Liquid Pharmaceutical

Formulations of Palonosetron,” was duly and legally issued to Plaintiffs as assignees. A copy of

the ’724 patent is attached as Exhibit A.

               11.     On June 30, 2015, the ’980 patent, titled “Liquid Pharmaceutical

Formulations of Palonosetron,” was duly and legally issued to Plaintiffs as assignees. A copy of

the ’980 patent is attached as Exhibit B.

               12.     Pursuant to 21 U.S.C. § 355(b)(l), the ’724 patent and the ’980 patent are

listed in the United States Food and Drug Administration (“FDA”) publication titled, “Approved
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Drug Products with Therapeutic Equivalence Evaluations” (also known as the “Orange Book”)

as covering Helsinn’s Aloxi® brand palonosetron hydrochloride intravenous solutions.

                           ACTS GIVING RISE TO THIS ACTION

                     COUNT I – INFRINGEMENT OF THE ’724 PATENT

               13.     Plaintiffs reallege paragraphs 1-12 as if fully set forth herein.

               14.     Upon information and belief, Defendant Actavis submitted NDA No.

208522 to the FDA under § 505(b)(2) of the Federal Food, Drug and Cosmetic Act (21 U.S.C.

§ 355(b)(2)). NDA No. 208522 seeks the FDA approval necessary to engage in the commercial

manufacture, use, sale, offer for sale, and/or importation of generic palonosetron hydrochloride

intravenous solutions prior to the expiration of certain of Plaintiffs’ Orange Book-listed patents

that have the same expiration date as the ’724 patent. NDA No. 208522 specifically seeks FDA

approval to market a generic version of Helsinn’s Aloxi® brand palonosetron hydrochloride

intravenous solutions prior to the expiration of the ’724 patent.

               15.     Upon information and belief, NDA No. 208522 includes a certification

under § 505(b)(2)(A)(iv) of the Federal Food, Drug and Cosmetic Act that the claims of the ’724

patent are invalid. Defendant Actavis notified Plaintiffs of its certification and provided a

detailed statement of the alleged basis for the certification.

               16.     Defendant Actavis’s submission to the FDA of NDA No. 208522,

including the § 505(b)(2)(A)(iv) allegations, constitutes infringement of the ’724 patent under 35

U.S.C. § 271(e)(2)(A).

               17.     Defendant Actavis’s active and knowing participation in, contribution to,

aiding, abetting, and/or inducement of the submission to the FDA of NDA No. 208522 and the

§ 505(b)(2)(A)(iv) certification constitutes infringement of the ’724 patent under 35 U.S.C.

§ 271(e)(2)(A).
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                 18.     Plaintiffs are entitled to a declaration that, if Defendant Actavis

commercially manufactures, uses, offers for sale, or sells its proposed generic versions of

Helsinn’s Aloxi® brand products within the United States, imports its proposed generic versions

of Helsinn’s Aloxi® brand products into the United States, and/or induces or contributes to such

conduct, Defendant Actavis will infringe the ’724 patent under 35 U.S.C. § 271(a), (b), and/or

(c).

                 19.     Plaintiffs will be irreparably harmed by Defendant Actavis’s infringing

activities unless those activities are enjoined by this Court. Plaintiffs do not have an adequate

remedy at law.

                       COUNT II - INFRINGEMENT OF THE ’980 PATENT

                 20.     Plaintiffs reallege paragraphs 1-19 as if fully set forth herein.

                 21.     Upon information and belief, Defendant Actavis submitted NDA No.

208522 to the FDA under § 505(b)(2) of the Federal Food, Drug and Cosmetic Act (21 U.S.C.

§ 355(b)(2)). NDA No. 208522 seeks the FDA approval necessary to engage in the commercial

manufacture, use, sale, offer for sale, and/or importation of generic palonosetron hydrochloride

intravenous solutions prior to the expiration of certain of Plaintiffs’ Orange Book-listed patents

that have the same expiration date as the ’980 patent. NDA No. 208522 specifically seeks FDA

approval to market a generic version of Helsinn’s Aloxi® brand palonosetron hydrochloride

intravenous solutions prior to the expiration of the ’980 patent.

                 22.     Upon information and belief, NDA No. 208522 includes a certification

under § 505(b)(2)(A)(iv) of the Federal Food, Drug and Cosmetic Act that the claims of the ’980

patent are invalid. Defendant Actavis notified Plaintiffs of its certification and provided a

detailed statement of the alleged basis for the certification.



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                 23.   Defendant Actavis’s submission to the FDA of NDA No. 208522,

including the § 505(b)(2)(A)(iv) allegations, constitutes infringement of the ’980 patent under 35

U.S.C. § 271(e)(2)(A).

                 24.   Defendant Actavis’s active and knowing participation in, contribution to,

aiding, abetting, and/or inducement of the submission to the FDA of NDA No. 208522 and the

§ 505(b)(2)(A)(iv) certification constitutes infringement of the ’980 patent under 35 U.S.C.

§ 271(e)(2)(A).

                 25.   Plaintiffs are entitled to a declaration that, if Defendant Actavis

commercially manufactures, uses, offers for sale, or sells its proposed generic versions of

Helsinn’s Aloxi® brand products within the United States, imports its proposed generic versions

of Helsinn’s Aloxi® brand products into the United States, and/or induces or contributes to such

conduct, Defendant Actavis will infringe the ’980 patent under 35 U.S.C. § 271(a), (b), and/or

(c).

                 26.   Plaintiffs will be irreparably harmed by Defendant Actavis’s infringing

activities unless those activities are enjoined by this Court. Plaintiffs do not have an adequate

remedy at law.

                                     PRAYER FOR RELIEF

                 WHEREFORE, Plaintiffs request that:

                 A.    A Judgment be entered declaring that Defendant Actavis has infringed the

’724 and ’980 patents by submitting NDA No. 208522;

                 B.    An Order be issued pursuant to 35 U.S.C. § 271(e)(4)(A) that the effective

date of any approval of NDA No. 208522 be a date that is not earlier than the expiration dates of

the ’724 and ’980 patents, or any later expiration of exclusivity for any of those patents to which

Plaintiffs are or become entitled;
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               C.      An Order be issued that Defendant Actavis, its officers, agents, servants,

and employees, and those persons in active concert or participation with any of them, are

preliminarily and permanently enjoined from commercially manufacturing, using, offering for

sale, selling, or importing the proposed generic versions of Helsinn’s Aloxi® brand products

identified in this Complaint, and any other product that infringes or induces or contributes to the

infringement of the ’724 and ’980 patents, prior to the expiration of any of those patents,

including any extensions to which Plaintiffs are or become entitled;

               D.      Plaintiffs be awarded attorneys’ fees pursuant to 35 U.S.C. § 285;

               E.      Plaintiffs be awarded their costs and expenses in this action; and

               F.      Plaintiffs be awarded such other and further relief as this Court deems just

and proper.



Dated: March 24, 2016                              Respectfully submitted,


                                                   By: s/ Charles M. Lizza
                                                       Charles M. Lizza
Of Counsel:                                            William C. Baton
                                                       SAUL EWING LLP
Joseph M. O’Malley, Jr.                                One Riverfront Plaza, Suite 1520
Eric W. Dittmann                                       Newark, NJ 07102-5426
Young J. Park                                          (973) 286-6700
Isaac S. Ashkenazi                                     clizza@saul.com
Gary Ji                                                wbaton@saul.com
Angela C. Ni
Dana Weir                                               Attorneys for Plaintiffs
PAUL HASTINGS LLP                                       Helsinn Healthcare S.A. and
75 East 55th Street                                     Roche Palo Alto LLC
New York, NY 10022
(212) 318-6000
josephomalley@paulhastings.com
ericdittmann@paulhastings.com
youngpark@paulhastings.com
isaacashkenazi@paulhastings.com

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Case 2:16-cv-01683-SRC-CLW Document 1 Filed 03/24/16 Page 8 of 10 PageID: 8



garyji@paulhastings.com
angelani@paulhastings.com
danaweir@paulhastings.com

Attorneys for Plaintiff
Helsinn Healthcare S.A.

Mark E. Waddell
LOEB & LOEB LLP
345 Park Avenue
New York, NY 10154
(212) 407-4127
mwaddell@loeb.com

Attorneys for Plaintiff
Roche Palo Alto LLC




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          CERTIFICATION PURSUANT TO LOCAL CIVIL RULES 11.2 & 40.1

       Pursuant to Local Civil Rules 11.2 and 40.1, I hereby certify that the matters captioned

Helsinn Healthcare S.A., et al. v. Dr. Reddy Laboratories, Ltd., et al., Civil Action No. 11-3962

(MLC)(DEA) (D.N.J. July 8, 2011) (Consolidated), Helsinn Healthcare, S.A., et al. v. Dr.

Reddy’s Laboratories, Ltd., et al., Civil Action No. 12-2867 (MLC)(DEA) (D.N.J. May 11,

2012), Helsinn Healthcare, S.A., et al. v. Dr. Reddy’s Laboratories, Ltd., et al., Civil Action No.

14-4274 (MLC)(DEA) (D.N.J. July 7, 2014), Helsinn Healthcare, S.A., et al. v. Hospira, Inc., et

al., Civil Action No. 15-2077 (MLC)(DEA) (D.N.J. Mar. 23, 2015), Helsinn Healthcare, S.A., et

al. v. Fresenius Kabi USA, LLC, et al., Civil Action No. 15-7015 (MLC)(DEA) (D.N.J. Sept. 22,

2015); Helsinn Healthcare, S.A., et al. v. Fresenius Kabi USA, LLC, et al., Civil Action No. 15-

7378 (MLC)(DEA) (D.N.J. Oct. 8, 2015), Helsinn Healthcare S.A., et al. v. Qilu Pharmaceutical

Co., Ltd., et al., Civil Action No. 15-8132 (MLC)(DEA) (D.N.J. Oct. 17, 2015), Helsinn

Healthcare S.A., et al. v. Dr. Reddy Laboratories, Ltd., et al., Civil Action No. 15-8662

(MLC)(DEA) (D.N.J. Dec. 15, 2015), Helsinn Healthcare, S.A., et al. v. Teva Pharmaceuticals

USA, Inc., et al., Civil Action No. 15-8663 (MLC)(DEA) (D.N.J. Dec. 15, 2015), Helsinn

Healthcare, S.A., et al. v. Sagent Pharmaceuticals, Inc., et al., Civil Action No. 16-173

(MLC)(DEA), Helsinn Healthcare, S.A., et al. v. Sagent Pharmaceuticals, Inc., Civil Action No.

16-681 (MLC)(DEA), Helsinn Healthcare, S.A., et al. v. Hospira, Inc., Civil Action No. 15-264

(GMS) (D. Del. Mar. 25, 2015), and Helsinn Healthcare, S.A., et al. v. Exela Pharma Sciences

LLC, et al., Civil Action No. 14-1444 (GMS) (D. Del. Dec. 1, 2014) (currently stayed) are

related to the matter in controversy because the matter in controversy involves the same plaintiffs

and the same or related patents, and because Defendants are seeking FDA approval to market

generic versions of the same pharmaceutical products.



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Dated: March 24, 2016                  Respectfully submitted,


                                       By: s/ Charles M. Lizza
                                           Charles M. Lizza
Of Counsel:                                William C. Baton
                                           SAUL EWING LLP
Joseph M. O’Malley, Jr.                    One Riverfront Plaza, Suite 1520
Eric W. Dittmann                           Newark, NJ 07102-5426
Young J. Park                              (973) 286-6700
Isaac S. Ashkenazi                         clizza@saul.com
Gary Ji                                    wbaton@saul.com
Angela C. Ni
Dana Weir                                  Attorneys for Plaintiffs
PAUL HASTINGS LLP                          Helsinn Healthcare S.A. and
75 East 55th Street                        Roche Palo Alto LLC
New York, NY 10022
(212) 318-6000
josephomalley@paulhastings.com
ericdittmann@paulhastings.com
youngpark@paulhastings.com
isaacashkenazi@paulhastings.com
garyji@paulhastings.com
angelani@paulhastings.com
danaweir@paulhastings.com

Attorneys for Plaintiff
Helsinn Healthcare S.A.

Mark E. Waddell
LOEB & LOEB LLP
345 Park Avenue
New York, NY 10154
(212) 407-4127
mwaddell@loeb.com

Attorneys for Plaintiff
Roche Palo Alto LLC




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